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          Exhibit “A”
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



  DISPLAY TECHNOLOGIES, LLC                        §
                                                   §
         v.                                        §          Case No. 2:17-CV-0192-JRG-RSP
                                                   §
  CANON U.S.A., INC.                               §
                                                    	  

  	  
                         PROTECTIVE ORDER FOR PATENT CASES	  
         WHEREAS, Plaintiff Display Technologies, LLC and Defendant Canon U.S.A., Inc.,

  hereafter referred to as “the Parties,” believe that certain information that is or will be

  encompassed by discovery demands by the Parties involves the production or disclosure of trade

  secrets, confidential business information, or other proprietary information;

         WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

  Federal Rule of Civil Procedure 26(c):

         THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

  1.     Each Party may designate as confidential for protection under this Order, in whole or in part,

         any document, information or material that constitutes or includes, in whole or in part,

         confidential or proprietary information or trade secrets of the Party or a Third Party to whom

         the Party reasonably believes it owes an obligation of confidentiality with respect to such

         document, information or material (“Protected Material”). Protected Material shall be

         designated by the Party producing it by affixing a legend or stamp on such document,

         information    or   material   as   follows:      “CONFIDENTIAL,”        “RESTRICTED         -

         ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE

         CODE.” The word(s) “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES


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                                                             ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed clearly

                                                             on each page of the Protected Material (except deposition and hearing transcripts) for which

                                                             such protection is sought. For deposition and hearing transcripts, the word(s)

                                                             “CONFIDENTIAL,”                                                                                                                                                                          “RESTRICTED       -   ATTORNEYS’   EYES   ONLY,”   or

                                                             “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed on the cover page

                                                             of the transcript (if not already present on the cover page of the transcript when received

                                                             from the court reporter) by each	   attorney receiving a copy of the transcript after that

                                                             attorney receives notice of the designation of some or all of that transcript as

                                                             “CONFIDENTIAL,”                                                                                                                                                                          “RESTRICTED       -   ATTORNEYS’   EYES   ONLY,”   or

                                                             “RESTRICTED CONFIDENTIAL SOURCE CODE.”

  2.                                                         Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

                                                             Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

                                                             shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES

                                                             ONLY” under this Order, unless and until such document is redesignated to have a different

                                                             classification under this Order.

  3.                                                         With respect to documents, information or material designated “CONFIDENTIAL,”

                                                             “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

                                                             SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein

                                                             and unless otherwise stated, this Order governs, without limitation: (a) all documents,

                                                             electronically stored information, and/or things as defined by the Federal Rules of Civil

                                                             Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
  to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
  EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
  collectively.

                                                                                                                                                                                                                                                                    2
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         or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

         and other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions,

         extracts, digests and complete or partial summaries prepared from any DESIGNATED

         MATERIALS shall also be considered DESIGNATED MATERIAL and treated as

         such under this Order.

  4.     A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

         ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

         may be made at any time.          Inadvertent or unintentional production of documents,

         information or material that has not been designated as DESIGNATED MATERIAL shall

         not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

         that inadvertently or unintentionally produces Protected Material without designating it as

         DESIGNATED MATERIAL may request destruction of that Protected Material by

         notifying the recipient(s), as soon as reasonably possible after the producing Party

         becomes aware of the inadvertent or unintentional disclosure, and providing replacement

         Protected Material that is properly designated. The recipient(s) shall then destroy all copies

         of the inadvertently or unintentionally produced Protected Materials and any documents,

         information or material derived from or based thereon.

  5.     “CONFIDENTIAL” documents, information and material may be disclosed only to the

         following persons, except upon receipt of the prior written consent of the designating party,

         upon order of the Court, or as set forth in paragraph 12 herein:

         (a)     outside counsel of record in Display Technologies, LLC v. Canon U.S.A., Inc.,
                 Case No. 2:17-cv-0192-JRG-RSP (the “Action”) for the Parties;

         (b)     employees of such counsel assigned to and reasonably necessary to assist such
                 counsel in the litigation of this Action;




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         (c)    in-house counsel for the Parties who either have responsibility for making decisions
                dealing directly with the litigation of this Action, or who are assisting outside
                counsel in the litigation of this Action;

         (d)    up to and including three (3) designated representatives of each of the Parties to
                the extent reasonably necessary for the litigation of this Action, except that either
                party may in good faith request the other party’s consent to designate one
                or more additional representatives, the other party shall not unreasonably
                withhold such consent, and the requesting party may seek leave of Court to
                designate such additional representative(s) if the requesting party believes the
                other party has unreasonably withheld such consent;

         (e)    outside consultants or experts (i.e., not existing employees or affiliates of a Party
                or an affiliate of a Party) retained for the purpose of this litigation, provided that:
                (1) such consultants or experts are not presently employed by the Parties hereto
                for purposes other than this Action; (2) before access is given, the consultant or
                expert has completed the Undertaking attached as Exhibit A hereto and the same
                is served upon the producing Party with a current curriculum vitae of the
                consultant or expert at least ten (10) days before access to the Protected Material
                is to be given to that consultant or expert in order to allow the producing Party to
                object to and notify the receiving Party in writing that it objects to disclosure of
                Protected Material to the consultant or expert. The Parties agree to promptly
                confer and use good faith to resolve any such objection. If the Parties are unable
                to resolve any objection, the objecting Party may file a motion with the Court
                within fifteen (15) days of the notice, or within such other time as the Parties may
                agree, seeking a protective order with respect to the proposed disclosure. The
                objecting Party shall have the burden of proving the need for a protective order. No
                disclosure shall occur until all such objections are resolved by agreement or
                Court order;

         (f)    independent litigation support services, including persons working for or as
                court reporters, graphics or design services, jury or trial consulting services, and
                photocopy, document imaging, and database services retained by counsel and
                reasonably necessary to assist counsel with the litigation of this Action; and

         (g)    the Court and its personnel.

  6.     A Party shall designate documents, information or material as “CONFIDENTIAL” only

         upon a good faith belief that the documents, information or material contains confidential

         or proprietary information or trade secrets of the Party or a Third Party to whom the Party

         reasonably believes it owes an obligation of confidentiality with respect to such documents,

         information or material.



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  7.     Documents, information or material produced pursuant to any discovery request in this

         Action, including but not limited to Protected Material designated as DESIGNATED

         MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

         be used for any other purpose. Any person or entity who obtains access to DESIGNATED

         MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

         duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

         portion thereof except as may be reasonably necessary in the litigation of this Action. Any

         such copies, duplicates, extracts, summaries or descriptions shall be classified

         DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

  8.     To the extent a producing Party believes that certain Protected Material qualifying to be

         designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

         limitation, the producing Party may designate such Protected Material “RESTRICTED --

         ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes computer

         source code and/or live data (that is, data as it exists residing in a database or databases)

         (“Source Code Material”), the producing Party may designate such Protected Material as

         “RESTRICTED CONFIDENTIAL SOURCE CODE.”

  9.     For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY,

         access to, and disclosure of, such Protected Material shall be limited to individuals listed

         in paragraphs 5(a-b) and (e-g).

  10.    For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

         the following additional restrictions apply:

         (a)    Access to a Party’s Source Code Material shall be provided only on “stand-
                alone” computer(s) (that is, the computer may not be linked to any network,
                including a local area network (“LAN”), an intranet or the Internet) (“Source
                Code Computer”).       The Source Code Computer may be connected to a



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               printerand shall be equipped to print Source Code Material onto production-
               numbered paper labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,”
               which shall be provided by the producing Party. The receiving Party shall print
               onto such paper all pages of Source Code Material that the receiving Party may
               wish to take possession of, subject to the other provisions of paragraph 10.
               Additionally, the Source Code Computer may only be located at the offices of the
               producing Party’s outside counsel. The producing Party need not produce
               executable or native code absent agreement by the Parties or by further Court
               order;

         (b)   In order to verify that its Source Code Material has not later been altered, the
               producing Party may benchmark the Source Code Material before it is provided,
               but shall not install any keystroke or other monitoring software on the Source
               Code Computer;

         (c)   The receiving Party shall diligently attempt to complete its review of Source
               Code Material during a period of three (3) 10 hour days (e.g., 8:00 a.m. through
               6:00 p.m.). The Parties agree to cooperate in good faith such that maintaining the
               producing Party’s Source Code Material at the offices of its outside counsel shall
               not unreasonably hinder the receiving Party’s ability to efficiently and effectively
               conduct the prosecution or defense of this Action;

         (d)   Recording devices, recordable media, or other electronic devices (including but
               not limited to sound recorders, computers, PDAs, landline or cellular telephones,
               smartphones, peripheral equipment, cameras, CDs, DVDs, floppy drives, zip
               drives, thumb drives, USB memory sticks, portable hard drives, BlackBerry®
               devices, or Dictaphones) shall not be permitted inside the secure room containing
               the Source Code Computer;

         (e)   The receiving Party’s outside counsel and/or outside consultants or experts shall
               be entitled to take notes relating to the Source Code Material. Such notes shall
               themselves thereafter be deemed “Source Code Material” and treated as
               RESTRICTED CONFIDENTIAL SOURCE CODE for all purposes and
               provisions herein, except that the receiving Party’s outside counsel and/or outside
               consultants or experts may keep the original of such notes (but such originals
               shall be subject to all restrictions placed on copies in the possession of the
               receiving Party included within this Protective Order);

         (f)   The producing Party shall provide the receiving Party with information
               explaining how to start, log on to, and operate the Source Code Computer in order
               to access the produced Source Code Material on the Source Code Computer;

         (g)   The producing Party will produce Source Code Material in computer
               searchable format on the Source Code Computer as described above;




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                                                             (h)                                                        Access to Protected Material designated RESTRICTED CONFIDENTIAL
                                                                                                                        SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                                                                                                                        consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
                                                                                                                        affiliate of a Party) retained for the purpose of this litigation and approved to
                                                                                                                        access such Protected Materials pursuant to paragraph 5(e) above. A receiving
                                                                                                                        Party may only include excerpts of Source Code Material that are reasonably
                                                                                                                        necessary for the purposes for which such part of the Source Code Material is
                                                                                                                        used in any pleading, exhibit, expert report, discovery document, deposition
                                                                                                                        transcript, other Court document, or any drafts of these documents (“Source Code
                                                                                                                        Documents”). A receiving Party may include excerpts of Source Code Material
                                                                                                                        in a pleading, exhibit, expert report, discovery document, deposition transcript,
                                                                                                                        other Court document, or drafts of these documents provided that the Source
                                                                                                                        Code Documents are appropriately marked under this Order, restricted to those
                                                                                                                        who are entitled to have access to them as specified herein, and, if filed with the
                                                                                                                        Court, filed under seal in accordance with the Court’s rules, procedures and
                                                                                                                        orders;

                                                             (i)                                                        To the extent portions of Source Code Material are quoted in a Source
                                                                                                                        Code Document, either (1) the entire Source Code Document will be stamped and
                                                                                                                        treated as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages
                                                                                                                        containing quoted Source Code Material will be separately stamped and treated
                                                                                                                        as RESTRICTED CONFIDENTIAL SOURCE CODE;

                                                             (j)                                                        No electronic copies of Source Code Material shall be made without prior written
                                                                                                                        consent of the producing Party, except as necessary to create documents which,
                                                                                                                        pursuant to the Court’s rules, procedures and order, must be filed or served
                                                                                                                        electronically;

                                                             (k)                                                        No more than one hundred (100) pages of Source Code Material for any software
                                                                                                                        release may be in printed form in the receiving Party’s possession at any one
                                                                                                                        time. In order to stay within the one hundred (100) page limit, the receiving
                                                                                                                        Party must first securely destroy and certify to the producing Party in writing the
                                                                                                                        fact of such destruction or return to counsel for producing Party, at receiving
                                                                                                                        Party’s option, Source Code Material (including all copies made pursuant to
                                                                                                                        paragraph 10(m) below) in exchange for taking possession of additional Source
                                                                                                                        Code Material. Counsel for the producing Party shall maintain all printed pages
                                                                                                                        of Source Code Material that the receiving Party does not take possession of, in
                                                                                                                        case the receiving Party later wishes to take possession of additional Source Code
                                                                                                                        Material in accordance with the preceding sentence.

                                                             (l)                                                        The receiving Party will record on a log every page of Source Code Material that
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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           For the purposes of this paragraph, an outside consultant or expert is defined to include
  the outside consultant’s or expert’s direct reports and other support personnel, such that the
  disclosure to a consultant or expert who employs others within his or her firm to help in his or
  her analysis shall count as a disclosure to a single consultant or expert.

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               the receiving Party takes possession of (subject to the 100 page limit of paragraph
               k above), including the production-numbers and the file names containing the
               printed Source Code Material. The receiving Party shall provide a copy of the
               log to the producing Party within five (5) business days of printing the Source
               Code Material. The producing Party shall have fifteen (15) business days after
               receipt of the log to provide the receiving Party with written notice of any
               objection that the printed portions are not reasonably necessary to any case
               activity. If the producing Party and the receiving Party cannot resolve the
               objection within five (5) business days of a meet and confer, or within such other
               time as the Parties may agree, the producing Party may file a motion with the
               Court seeking a protective order with respect to the proposed production of the
               printed pages. The objecting Party shall have the burden of proving the need for
               a protective order. The disputed pages may not be used in any manner until all
               such objections are resolved by agreement or Court order;

         (m)   The receiving Party shall be permitted to make up to five (5) photocopies of
               Source Code Material, all of which shall be designated and clearly labeled
               “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the receiving Party
               shall include the photocopies on the log discussed in paragraph l above. For
               purposes of clarification, and without limiting the foregoing, the receiving Party
               may not create, use, access, or receive electronic images, photographic images, or
               any other images, of the Source Code Material made from paper copy; the paper
               copy may not be converted into an electronic document; and the paper copy may
               not be scanned using optical character recognition technology;

         (n)   No electronic copies of the Source Code Material shall be provided by the
               producing Party beyond the Source Code Computer. The receiving Party is not
               to create any such electronic copies;

         (o)   If the receiving Party’s outside counsel, consultants, or experts obtain printouts
               or photocopies of Source Code Material, the receiving Party shall ensure that
               such outside counsel, consultants, or experts keep the printouts or photocopies in
               a secured locked area in the offices of such outside counsel, consultants, or
               expert. The receiving Party may also temporarily keep the printouts or photocopies
               at: (i) the Court for any proceedings(s) relating to the Source Code Material, for
               the dates associated with the proceeding(s); (ii) the sites where any deposition(s)
               relating to the Source Code Material are taken, for the dates associated with the
               deposition(s); and (iii) any intermediate location reasonably necessary to transport
               the printouts or photocopies (e.g., a hotel prior to a Court proceeding or
               deposition);

         (p)   A producing Party’s Source Code Material may only be transported by the
               receiving Party at the direction of a person authorized under paragraph 10(h)
               above to another person authorized under paragraph 10(h) above, on paper via
               hand carry, Federal Express or other similarly reliable courier. Source Code


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                 Material may not be transported or transmitted electronically over a network of
                 any kind, including a LAN, an intranet, or the Internet;

          (q)    Images or copies of Source Code Material shall not be included in
                 correspondence between the Parties (references to production numbers shall be
                 used instead) and shall be omitted from pleadings and other papers except as to
                 the extent permitted herein;

          (r)    Other than as provided in paragraph 10, the receiving Party will not copy,
                 remove, or otherwise transfer any Source Code Material from the Source Code
                 Computer, including without limitation, copying, removing, or transferring the
                 Source Code Material onto any other computers or peripheral equipment;

          (s)    The receiving Party will not transmit any Source Code Material in any way from
                 the offices of the producing Party’s outside counsel;

          (t)    To the extent portions of Source Code Material are quoted in a Source Code
                 Document, persons described in paragraph 10(h) above shall be permitted to store
                 and access such Source Code Documents on a computer and on a computer
                 network that limits access to necessary viewers only;
   	  
   11.    Any attorney representing a Party, whether in-house or outside counsel, and any person

          associated with a Party and permitted to receive the other Party’s Protected Material that is

          designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or RESTRICTED

          CONFIDENTIAL          SOURCE         CODE       (collectively   “HIGHLY        SENSITIVE

          MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

          part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

          prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

          application pertaining to the field of the invention of the patents-in-suit on behalf of the

          receiving Party or its acquirer, successor, predecessor, or other affiliate (i) during the

          pendency of this Action and for one year after its conclusion, including any appeals, or (ii)

          for two (2) years after the last time such person accesses the HIGHLY SENSITIVE

          MATERIAL, whichever is longer. To ensure compliance with the purpose of this

          provision, each Party shall create an “Ethical Wall” between those persons with access to


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          HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of the Party or its

          acquirer, successor, predecessor, or other affiliate, prepare, prosecute, supervise or assist in

          the preparation or prosecution of any patent application pertaining to the field of invention

          of the patent-in-suit.

   12.    Nothing in this Order shall require production of documents, information or other

          material that a Party contends is protected from disclosure by the attorney-client privilege,

          the work product doctrine, or other privilege, doctrine, or immunity. If documents,

          information or other material subject to a claim of attorney-client privilege, work product

          doctrine, or other privilege, doctrine, or immunity is inadvertently or unintentionally

          produced, such production shall in no way prejudice or otherwise constitute a waiver of,

          or estoppel as to, any such privilege, doctrine, or immunity. Any Party that inadvertently

          or unintentionally produces documents, information or other material it reasonably believes

          are protected under the attorney-client privilege, work product doctrine, or other privilege,

          doctrine, or immunity may obtain the return of such documents, information or other

          material by promptly notifying the recipient(s) and providing a privilege log for the

          inadvertently or unintentionally produced documents, information or other material. The

          recipient(s) shall gather and return all copies of such documents, information or other

          material to the producing Party, except for any pages containing privileged or otherwise

          protected markings by the recipient(s), which pages shall instead be destroyed and

          certified as such to the producing Party.

   13.    There shall be no disclosure of any DESIGNATED MATERIAL by any person

          authorized to have access thereto to any person who is not authorized for such access

          under this Order. The Parties are hereby ORDERED to safeguard all such documents,



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          information and material to protect against disclosure to any unauthorized persons or

          entities.

   14.    Nothing contained herein shall be construed to prejudice any Party’s right to use

          any DESIGNATED MATERIAL in taking testimony at any deposition or hearing

          provided that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i)

          eligible to have access to the DESIGNATED MATERIAL by virtue of his or her

          employment with the designating party, (ii) identified in the DESIGNATED MATERIAL

          as an author, addressee, or copy recipient of such information, (iii) although not identified

          as an author, addressee, or copy recipient of such DESIGNATED MATERIAL, has, in

          the ordinary course of business, seen such DESIGNATED MATERIAL, (iv) counsel for

          a Party, including outside counsel of record and in-house counsel (subject to paragraph 9

          of this Order); (v) an independent contractor, consultant, and/or expert retained for the

          purpose of this litigation (subject to paragraphs 5(e) and 19 of this Order); (vi) court

          reporters and videographers; (vii) the Court; or (viii) other persons entitled hereunder to

          access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be

          disclosed to any other persons unless prior authorization is obtained from counsel

          representing the producing Party or from the Court.

   15.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of

          a final deposition or hearing transcript, designate the deposition or hearing transcript or any

          portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES

          ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order.

          Access to the deposition or hearing transcript so designated shall be limited in accordance

          with the terms of this Order. Until expiration of the 30-day period, the entire deposition



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          or hearing transcript shall be treated as RESTRICTED – ATTORNEYS’ EYES ONLY.

   16.    Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal

          and shall remain under seal until further order of the Court. The filing party shall be

          responsible for informing the Clerk of the Court that the filing should be sealed and for

          placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER”

          above the caption and conspicuously on each page of the filing. Exhibits to a filing shall

          conform to the labeling requirements set forth in this Order. If a pretrial pleading filed

          with the Court, or an exhibit thereto, discloses or relies on confidential documents,

          information or material, such confidential portions shall be redacted to the extent

          necessary and the pleading or exhibit filed publicly with the Court.

   17.    The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

          prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at

          the trial of this Action, or from using any information contained in DESIGNATED

          MATERIAL at the trial of this Action, subject to any pretrial order issued by this Court.	  

   18.    A Party may request in writing to the other Party that the designation given to any

          DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does

          not agree to redesignation within ten (10) business days of receipt of the written request,

          the requesting Party may apply to the Court for relief. Upon any such application to the

          Court, the burden shall be on the designating Party to show why its classification is

          proper. Such application shall be treated procedurally as a motion to compel pursuant to

          Federal Rules of Civil Procedure 37, subject to the Rule’s provisions relating to

          sanctions. In making such application, the requirements of the Federal Rules of Civil

          Procedure and the Local Rules of the Court shall be met.               Pending the Court’s



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          determination of the application, the designation of the designating Party shall be

          maintained.

   19.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed

          in accordance with the terms of this Order shall be advised by counsel of the terms of

          this Order, shall be informed that he or she is subject to the terms and conditions of this

          Order, and shall sign an acknowledgment that he or she has received a copy of, has read,

          and has agreed to be bound by this Order. A copy of the acknowledgment form is

          attached as Appendix A.

   20.    To the extent that any discovery is taken of persons who are not Parties to this Action

          (“Third Parties”) and in the event that such Third Parties contended the discovery sought

          involves trade secrets, confidential business information, or other proprietary

          information, then such Third Parties may agree to be bound by this Order.

   21.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

          designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES ONLY”

          any documents, information or other material, in whole or in part, produced or given by

          such Third Parties. The Third Parties shall have ten (10) days after production of such

          documents, information or other materials to make such a designation. Until that time

          period lapses or until such a designation has been made, whichever occurs sooner, all

          documents, information or other material so produced or given shall be treated as

          “RESTRICTED -- ATTORNEYS’ EYES ONLY” in accordance with this Order.

   22.    Within fifteen (15) days of final termination of this Action, including any appeals,

          all DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

          summaries, descriptions, and excerpts or extracts thereof (including any attorney work



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          product and any pleadings), shall be destroyed. A certification of destruction signed by

          counsel for the receiving Party shall be provided to the producing Party within ten (10)

          calendar days of the destruction of the material.

   23.    The failure to designate documents, information or material in accordance with this

          Order and the failure to object to a designation at a given time shall not preclude the

          filing of a motion at a later date seeking to impose such designation or challenging the

          propriety thereof.    The entry of this Order and/or the production of documents,

          information and material hereunder shall in no way constitute a waiver of any objection

          to the furnishing thereof, all such objections being hereby preserved.

   24.    Any Party knowing or believing that any other party is in violation of or intends to

          violate this Order and has raised the question of violation or potential violation with the

          opposing party and has been unable to resolve the matter by agreement may move the

          Court for such relief as may be appropriate in the circumstances. Pending disposition of

          the motion by the Court, the Party alleged to be in violation of or intending to violate this

          Order shall discontinue the performance of and/or shall not undertake the further

          performance of any action alleged to constitute a violation of this Order.

   25.    If at any time documents containing DESIGNATED MATERIAL are subpoenaed or

          otherwise requested through litigation or arbitral, administrative, or legislative body, the

          person to whom the subpoena or other request is directed shall immediately give written

          notice thereof to every Party who has produced such documents and to its counsel and

          shall provide each such Party with an opportunity to object to the product of such

          documents or information. If a producing Party does not take steps to prevent disclosure

          of such documents or information within ten (10) business days of the date written notice



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          is given, the Party to whom the referenced subpoena is directed may produce such

          documents and/or information in response thereto.

   26.    Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed

          a publication of the documents, information and material (or the contents thereof)

          produced so as to void or make voidable whatever claim the Parties may have as to the

          proprietary and confidential nature of the documents, information or other material or its

          contents.

   27.    Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of

          any kind on the rights of each of the Parties to assert any applicable discovery or trial

          privilege.

   28.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

          this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

          entities if reasonably necessary to prepare and present this Action and (b) to apply for

          additional protection of DESIGNATED MATERIAL.




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



   DISPLAY TECHNOLOGIES, LLC                       §
                                                   §
          v.                                       §           Case No. 2:17-CV-0192-JRG-RSP
                                                   §
   CANON U.S.A., INC.                              §
                                                    	  

                                  APPENDIX A
               UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                              PROTECTIVE ORDER
          I, ___________________________________________, declare that:

   1.     My address is _________________________________________________________.

          My current employer is _________________________________________________.

          My current occupation is ________________________________________________.

   2.     I have received a copy of the Protective Order in this action. I have carefully read and

          understand the provisions of the Protective Order.

   3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

          will not disclose to anyone not qualified under the Protective Order, and will use only for

          purposes of this action any information designated as “CONFIDENTIAL,”

          “RESTRICTED -- ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

          SOURCE CODE” that is disclosed to me.

   4.     Promptly upon termination of these actions, I will return all documents and things

          designated as “CONFIDENTIAL,” “RESTRICTED -- ATTORNEYS’ EYES ONLY,”

          or “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession,

          and all documents and things that I have prepared relating thereto, to the outside counsel



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          for the party by whom I am employed.

   5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

          Protective Order in this action.

          I declare under penalty of perjury that the foregoing is true and correct.

   Signature

   Date




                                                    2
